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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 SMARTMATIC USA CORP., et al,

              Plaintiffs,
                                                               Civil Action No.
       v.
                                                          1:21-cv-02900-CJN-MAU
 HERRING NETWORKS, INC.

              Defendant.


                                           ORDER

        For the reasons stated on the record during the February 5, 2024 discovery hearing

(“hearing”), it is hereby,

        ORDERED that Plaintiffs’ Second Supplemental Motion to Extend Discovery (ECF No.

165), is GRANTED. The Parties shall adhere to the following discovery deadlines:

                                   Event                                      Deadline

 Deadline to Serve Document Requests under Fed. R. Civ. P. 34          July 31, 2023

 Deadline for Completion of Fact Discovery                             May 10, 2024

 Deadline for Proponents to Designate Expert Witnesses and Produce     June 7, 2024
 Expert Reports under Fed. R. Civ. P. 26(a)(2)
 Deadline for Opponents to Designate Expert Witnesses and Produce      July 5, 2024
 Expert Reports under Fed. R. Civ. P. 26(a)(2)
 Deadline for Proponents to Produce Responsive Expert Reports          August 9, 2024

 Deadline for Expert Depositions                                       September 13, 2024

 Status Conference                                                     October 2, 2024

 Deadline to File Dispositive Motions                                  November 1, 2024

 Deadline to File Oppositions to Dispositive Motions                   December 5, 2024

 Deadline to File Replies in Support of Dispositive Motions            January 6, 2025



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       It is FURTHER ORDERED that the following motions are DENIED AS MOOT:

Plaintiffs’ Motion for Extension of Time to Serve Document Requests (ECF No. 54); Defendant’s

Motion for Leave to File Sur-Reply in Opposition to Plaintiffs’ Motion for Extension (ECF No.

65); Plaintiffs’ Motion for Protective Order, Stay Depositions, and Amend/Correct Scheduling

Order (ECF No. 96), and Plaintiffs’ Supplemental Motion for Protective Order, Stay Depositions,

and Amend/Correct Scheduling Order (ECF No. 132); and it is further,

       ORDERED that the Joint Motion for Entry of Deposition Protocol (ECF No. 169) is

GRANTED. As ordered on the record, the Parties shall submit a revised word version of the

Deposition    Protocol   to   the   Court    at   Upadhyaya_Chambers@dcd.uscourts.gov         and

Hope_Kashatus@dcd.uscourts.gov no later than 6:00 p.m. February 6, 2024; and it is further,

       ORDERED that Defendant’s Unopposed Renewed First Motion for International

Discovery (ECF No. 157) and Defendant’s Unopposed Renewed Second Motion for International

Discovery are GRANTED (ECF No. 158); and it is further,

       ORDERED that Defendant’s Unopposed Motion for Leave to File Document Under Seal

is GRANTED (ECF No. 173); and it is further,

       ORDERED that Plaintiffs’ Unopposed Motion for Leave to File Document Under Seal is

GRANTED (ECF No. 176); and it is further,

       ORDERED that Plaintiffs’ Motion to Compel Documents from Related Actions (ECF No.

130) is GRANTED. As described on the record, Defendant shall produce documents that it

produced in the lawsuits captioned US Dominion, Inc., et al. v. One America News Network, Case

No. 1:21-cv-02130 (D.D.C.) and Coomer v. Donald J. Trump for President, et. al., Case No. 2020-

cv-04319 (D. Colo.) within 14 days of this Order; and it is further,



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        ORDERED that Plaintiffs’ Motion for Protective Order to Quash Defendant’s Second Set

of Requests for Production (ECF No. 81) is DENIED. The Parties shall meet and confer as

discussed on the record to facilitate Defendant’s updates to these requests and Plaintiffs’ responses;

and it is further,

        ORDERED that Defendant’s Motion to Compel Amended Initial Disclosures (ECF No.

143-4) is GRANTED. Plaintiffs shall serve amended initial disclosures pursuant to Federal Rule

of Civil Procedure 26(a) within 14 days of this Order; and it is further,

        ORDERED that Defendant’s Motion to Compel Source Code and Machine Inspection

(ECF No. 143-5) is GRANTED IN PART and DENIED IN PART. Defendant’s motion is

DENIED as to request numbers 1, 2, 3, 4, and 5. Defendant’s motion as to request number 6 is

GRANTED IN PART and DENIED IN PART. Defendant’s motion as to request number 7 is

held under advisement. The Parties shall meet and confer and submit a joint statement to

Chambers at Upadhyaya_Chambers@dcd.uscourts.gov and Hope_Kashatus@dcd.uscourts.gov by

Friday, February 9, 2024 updating the Court on (a) the narrowed scope of request number 6 and

(b) whether Plaintiffs have in their possession, custody, or control any responsive information;

and it is further,

        ORDERED that the Parties shall meet and confer and attempt to resolve the remaining

discovery disputes. By February 9, 2024, the Parties shall file an updated joint notice of pending

and resolved discovery disputes using the same format and information as included in ECF No.

163, Amended Joint Status Report.

                SO ORDERED.
Date: February 6, 2024

                                                      ______________________________________
                                                      MOXILA A. UPADHYAYA
                                                      United States Magistrate Judge

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